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  4
  5    Attorneys for Defendants
       CITY OF MURIETTA, and MURRIETTA POLICE OFFICERS
  6    MIKOWSKI AND SFORZINI
  7
  8                          UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10
       TODD ROSENSCHEIN               )               No. 5:16-cv-02102 FMO (DTBx)
 11                                   )
                      Plaintiff,      )               Hon. Fernando M. Oguin
 12                                   )
       vs.                            )               DEFENDANTS’ REQUEST TO
 13                                   )               LIFT STAY;
       CITY OF MURIETTA, MURIETTA )
 14    POLICE OFFICERS MIKOWSKI, )
       SFORZINI, and DOES 1 to 15.    )
 15                                   )
                      Defendants.     )
 16    ______________________________ )
 17
       TO THE HONORABLE COURT AND ALL INTERESTED PARTIES AND
 18
       THEIR ATTORNEY(S) OF RECORD:
 19
             PLEASE TAKE NOTICE that Defendants in this matter hereby request
 20
       that the stay of this civil matter be lifted on the grounds that the criminal matter
 21
       relating to this case, People v. Rosenschein, Case No. SWF1600966 (Riverside
 22
       Cty. Super. Ct. 2016), has been resolved with Todd Rosenschein being found
 23
       guilty by jury.
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                          DEFENDANTS’ REQUEST TO LIFT STAY
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  1          As such, Defendants request that this Court issue an order lifting the stay
  2    and allowing no less than 21 days for Defendants to meet and confer and file any
  3    motions and/or responsive pleadings.
  4
  5    DATED: October 9, 2018          FERGUSON, PRAET & SHERMAN, APC
  6
                                       /s/ Allen Christiansen
  7                                    Allen Christiansen, SBN 263651
                                       Attorneys for Defendants City of Murrieta,
  8                                    Murrieta Police Officers Mikowski and Sforzini
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                         DEFENDANTS’ REQUEST TO LIFT STAY
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  1                    DECLARATION OF ALLEN CHRISTIANSEN
  2    I, ALLEN CHRISTIANSEN, declare as follows:
  3          1. I am an attorney at law authorized to practice law before all the courts of
  4    the State of California, the State of Hawaii and the United States Supreme Court
  5    and am an associate at the Law Offices of Ferguson, Praet & Sherman, A
  6    Professional Corporation, which is the attorney of record for the Defendants City
  7    of Murrieta and Officers Mikowski and Sfozini. The following declaration is
  8    made from personal knowledge and if I were called upon as a witness, I could and
  9    would competently testify under oath to the facts stated below in this declaration.
 10          2. I have been continuing to review the status of the related criminal matter
 11    of People v. Rosenschein, Case No. SWF1600966 (Riverside Cty. Super. Ct.
 12    2016) pending a final resolution of that matter.
 13          3. I am aware that the matter went to trial beginning October 2, 2018 and
 14    that a jury verdict was reach on October 5, 2018 with a finding of guilt as against
 15    Defendant Todd Rosenschein, who is the Plaintiff in this civil matter.
 16          4. Filed herewith as Exhibit A is a true and correct copy of the minute
 17    order from the Riverside Superior Court in the aforementioned case retrieved from
 18    the Court docket in that matter showing that the criminal matter has resolved in a
 19    finding of guilt against Todd Rosenschein.
 20
 21          I declare under penalty of perjury under the laws of the State of California
 22    that the foregoing declaration is true and correct. Executed October 9, 2018 at
 23    Santa Ana, California.
 24
 25    /s/ Allen Christiansen
 26    ALLEN CHRISTIANSEN
 27
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                          DEFENDANTS’ REQUEST TO LIFT STAY
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  1                                  PROOF OF SERVICE
  2
       STATE OF CALIFORNIA, COUNTY OF ORANGE
  3
             I, Coleen Ludvigson, am employed in the aforesaid County, State of
  4    California; I am over the age of 18 years and not a party to the within action. My
       business address is 1631 East 18th Street, Santa Ana, California 92705-7101.
  5
            On October 9, 2018, I served the foregoing DEFENDANTS’ REQUEST
  6    TO LIFT STAY; on the interested parties in this action:
  7    Keith H. Rutman, Esq.
       501 West Broadway, Suite 1650
  8    San Diego, CA 92101-3541
       Attorney for Plaintiff Todd Rosenschein
  9
 10          (By Mail) I placed such envelope for deposit in accordance with office
             practice, sealed, with postage thereon fully paid and the correspondence to
 11          be deposited in the United States mail at Santa Ana, California on the same
             day.
 12
             (By Facsimile Service) I caused such envelope/document to be delivered via
 13          facsimile to the office of the addressee.
 14    XXX (By e-filing) The above noted individuals are registered with the Court to
           receive notice of electronically filed documents. Per ECF rules, hard copies
 15        must be served only on parties who are not set up for electronic notification.
 16
       XXX (Federal) I declare under penalty of perjury that the foregoing is true and
 17        correct, and that I am employed in the office of a member of the bar of this
           Court at whose direction the service was made.
 18
       Executed on October 9, 2018, at Santa Ana, California.
 19
 20                                                  /s/ Coleen Ludvigson
                                                     Coleen Ludvigson
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                         DEFENDANTS’ REQUEST TO LIFT STAY
